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In the United States Court of Federal Claims
                           OFFICE OF SPECIAL MASTERS


*********************
BRUCE MCDONALD,          *                           No. 14-192V
                         *
             Petitioner, *                           Special Master Moran
                         *
v.                       *                           Filed: July 10, 2015
                         *
SECRETARY OF HEALTH      *                           Stipulation; influenza (“flu”) vaccine;
AND HUMAN SERVICES,      *                           Guillain-Barré Syndrome (“GBS”).
                         *
             Respondent. *
*********************
Anne C. Toale, Maglio, Christopher & Toale, PA, Sarasota, FL, for Petitioner;
Althea W. Davis, United States Dep’t of Justice, Washington, DC, for Respondent.

                              UNPUBLISHED DECISION1

       On July 8, 2015, respondent filed a joint stipulation concerning the petition
for compensation filed by Bruce McDonald on March 6, 2014. In his petition, Mr.
McDonald alleged that the influenza (“flu”) vaccine, which is contained in the
Vaccine Injury Table (the “Table”), 42 C.F.R. §100.3(a), and which he received on
October 27, 2012, caused him to suffer Guillain-Barré Syndrome (“GBS”).
Petitioner further alleges that he suffered the residual effects of this alleged injury
for more than six months. Petitioner represents that there has been no prior award
or settlement of a civil action for damages on his behalf as a result of his alleged
injury.

      Respondent denies that the flu vaccine caused petitioner’s alleged injuries or
any other injury or his current condition.


       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the party has 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as
the decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $197,000.00 in the form of a check payable to petitioner,
        Bruce McDonald. This amount represents compensation for all
        damages that would be available under 42 U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B,
the clerk is directed to enter judgment in case 14-192V according to this decision
and the attached stipulation.2

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6360.

        IT IS SO ORDERED.

                                                     s/Christian J. Moran
                                                     Christian J. Moran
                                                     Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each
party filing a notice renouncing the right to seek review by a United States Court of Federal
Claims judge.
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